Case 3:11-CV-01671-I\/|RK Document 14 Filed 01/30/12 Page 1 of 1

UN|TED STATES D|STRfCT COURT
D{STR§CT OF CONNECT!CUT

MECHAEL GRANATA,

Plaintiff,
No_ 3:11»CV~O1671-MRK

V.

COLLECTO, iNC_,
- _ STiPULAT!ON OF DISNHSSAL
Defendant. : WITH PRE.}UDICE

The P[aintiff and Defendant, by and through the undersigned, hereby etipuiate
that the above entitled aci§on sham be dismissed W'lih prejudice to Piaintiff on his

comp¥eim and without costs and/or attorneys fees to any pady.

THE P£_A|NT!FF, THE DEFENDANT,
M!CHAEL GRANATA_ COE.LECTO, INC. Ci!bia EOS-CCA

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‘ By: ¢””'f "T/'-»L ,‘“i:: “€_J`Zf'
Consumer Law Gc‘oup, LLC 7 donethan D. El|iot (ct05?’62)

 

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His Attomey its Attorneys

30 Ordered: Dated:

